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                                                                    Friday, 26 August, 2022 04:06:53 PM
                                                                            Clerk, U.S. District Court, ILCD




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Judge Bruce


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